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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,       )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)

                    MEMORANDUM OPINION AND ORDER

     The Court has issued two previous Opinions in this case. In

its September 28, 2018 Opinion, the Court held that plaintiffs,

approximately 201 Members of the 535 Members of the United

States Senate and House of Representatives, had standing to sue

defendant Donald J. Trump in his official capacity as President

of the United States (“the President”) for alleged violations of

the Foreign Emoluments Clause (“the Clause”). See Blumenthal v.

Trump, 335 F. Supp. 3d 45, 72 (D.D.C. 2018). In its April 30,

2019 Opinion, the Court held that: (1) the term “Emolument” is

broadly defined as any profit, gain, or advantage;

(2) plaintiffs stated a plausible claim against the President

for violations of the Clause; (3) plaintiffs have a cause of

action to seek injunctive relief to prevent the President’s

violations of the Clause; and (4) the relief plaintiffs seek—an
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injunction against the President—is constitutional. See

Blumenthal v. Trump, 373 F. Supp. 3d 191, 207, 211, 212 (D.D.C.

2019).

     Pending before the Court are the President’s motions for

certification for interlocutory appeal of the Court’s September

28, 2018 Order, ECF No. 60; 1 and April 30, 2019 Order, ECF No.

71-1. The President also moves to stay proceedings while the

Court considers the motions and pending appeal if the Court

grants them. Id. at 25. Upon careful consideration of the

President’s motions, the oppositions and replies thereto, and

for the reasons explained below, the Court DENIES the

President’s motions. 2

     A District Court may certify an interlocutory order for

immediate appeal if the judge is “of the opinion that such order

involves [1] a controlling question of law [2] as to which there

is substantial ground for difference of opinion and [3] that an

immediate appeal from the order may materially advance the


1 The President filed his first motion for certification of
interlocutory appeal before the Court had ruled on all the
issues the President raised in his motion to dismiss the
complaint. To conserve judicial resources, the Court declined to
consider the first motion until it had ruled on all the issues
raised in the motion to dismiss as the ruling could have
rendered the motion for certification of interlocutory appeal
moot. The President’s argument in his initial brief that the
Court of Appeals could render a quick decision on the single
issue of standing, Def.’s Reply, ECF No. 62 at 4, is therefore
moot.
2 The Court thanks amici for their submission.


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ultimate termination of the litigation.” 28 U.S.C. § 1292(b).

Through section 1292(b), “Congress ... chose to confer on

District Courts first line discretion” and “circumscribed

authority to certify for immediate appeal interlocutory orders

deemed pivotal and debatable.” Swint v. Chambers County Comm'n,

514 U.S. 35, 46, 47 (1995). The availability of immediate appeal

of interlocutory orders subject to the requirements of section

1292(b) is an “exception to the firm final judgment rule

governing federal courts.” Trout v. Garrett, 891 F.2d 332, 335

(D.C. Cir. 1989). Accordingly, a party seeking certification

pursuant to section 1292(b) must meet a high standard to

overcome the “strong congressional policy against piecemeal

reviews, and against obstructing or impeding an ongoing judicial

proceeding by interlocutory appeals.” United States v. Nixon,

418 U.S. 683, 690 (1974). “Although courts have discretion to

certify an issue for interlocutory appeal, . . . interlocutory

appeals are rarely allowed [and] the movant ‘bears the burden of

showing that exceptional circumstances justify a departure from

the basic policy of postponing appellate review until after the

entry of final judgement.’” Virtual Def. and Dev. Int'l, Inc. v.

Republic of Moldova, 133 F. Supp. 2d 9, 22 (D.D.C. 2001) (citing

First Am. Corp. v. Al–Nahyan, 948 F. Supp. 1107 (D.D.C. 1996)).

Finally, “[t]he moving party bears the burden of establishing

all three elements” of the provisions of section 1292(b). U.S.

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House of Representatives v. Burwell, No. 14-1967, 2015 WL

13699275, at *1 (D.D.C. Oct. 19, 2015) (citing Nat’l Cmty.

Reinvestment Coal. v. Accredited Home Lenders Holding Co., 597

F. Supp. 2d 120, 121 (D.D.C. 2009)); see also Butler v.

DirectSat USA, LLC, 307 F.R.D. 445, 452 (“Unless all of the

statutory criteria are satisfied . . . ‘the district court may

not and should not certify its order . . . under section

1292(b).’”) (citing Ahrenholz v. Bd. of Trs. of the Univ. of

Ill., 219 F.3d 674, 676 (7th Cir.)).

     The President contends that the Court’s Orders involve four

controlling questions of law: (1) whether plaintiffs have

standing to sue, Def.’s Statement of P. & A. in Supp. of Mot.

for Certification (“Def.’s Br.”) ECF No. 60-1 at 8 3; (2) whether

plaintiffs have an equitable cause of action; (3) whether the

Court can order the declaratory and injunctive relief sought;

and (4) the meaning of the Clause, Def.’s Suppl. Br. in Supp. of

His Mot. (“Def.’s Suppl. Br.”), ECF No. 71-1 at 10.

     Despite bearing the burden of establishing all three

elements of section 1292(b), the President has made little

effort to demonstrate the third element—that “an immediate

appeal from the [Court’s Orders] may materially advance the




3 When citing electronic filings throughout this Memorandum
Opinion and Order, the Court cites to the ECF header page
number, not the original page number of the filed document.
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ultimate termination of the litigation.” 28 U.S.C. § 1292(b).

The President contends that this element is met because there

are substantial grounds for difference of opinion as to whether

plaintiffs have standing to sue and if the Court was reversed on

this issue, the case would be terminated for lack of

jurisdiction. Def.’s Br., ECF No. 60-1 at 23. The President also

states that “[r]esolution of either of the two threshold

justiciability questions [whether plaintiffs have standing to

sue and whether plaintiffs have an equitable cause of action] in

the President’s favor would terminate this suit. And if the

Court of Appeals agrees with the President’s interpretation of

the Foreign Emoluments Clause, the case would be substantially

narrowed, if not over.” Def.’s Suppl. Br., ECF No. 71-1 at 7.

     But as plaintiffs point out, if reversal by the Court of

Appeals were the standard for meeting this element of the

section 1292(b) test, “every denial of a defendant’s dispositive

motion would merit an interlocutory appeal.” Pls.’ Opp’n, ECF

No. 61 at 12 (citing Educ. Assistance Found. v. United States,

No. 11-1573, 2014 WL 12780253, at *3 (D.D.C. Nov. 21, 2014)

(“Any immediate appeal under an interlocutory order could affect

the conduct of litigation and avoid unnecessary litigation.”).

Furthermore, the President’s “contention that certification of

this Court’s Orders for interlocutory appeal will materially

advance this litigation necessarily assumes that [he] will

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prevail on appeal.” Judicial Watch Inc. v. Nat’l Energy Policy

Dev. Group, 233 F. Supp. 2d 16, 28 (D.D.C. 2002).

     To determine whether the third element has been met, the

Court considers whether an immediate appeal “would likely and

materially advance the ultimate determination” of the

litigation. Educ. Assistance Found., 2014 WL 12780253, at *3

(quoting McKenzie v. Kennickell, No. 73-0974, 1986 WL 32653, at

*2 (D.D.C. Oct. 27, 1986); see also Burwell, 2015 WL 13699275,

at *1 (noting that the third element was not satisfied where the

case could be “decided in a matter of months—likely before an

interlocutory appeal could even be decided”). The Court also

considers whether “[a]n immediate appeal would conserve judicial

resources and spare the parties from possibly needless expense.”

APCC Services Inc. v. AT&T Corp., 297 F. Supp. 2d 90, 100

(D.D.C. 2003).

     Here, the parties agree that all of the issues in this case

can be resolved on cross motions for summary judgment. See Local

Rule 16.3 Report, ECF No. 75 at 3. Plaintiffs have proposed a

three month time period for discovery commencing June 28, 2019

and concluding September 27, 2019. Id. at 6. The President

states that “fact discovery should not commence unless the Court

denies the motion for interlocutory appeal,” id. at 7, and the

parties agree on a proposed briefing schedule that would be

complete within another three months, id. at 5.

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     The parties agree, therefore, that discovery will conclude

and cross motions for summary judgment will be fully briefed

within six months. Once the cross motions are ripe, the Court

will be able to resolve them expeditiously thereby terminating

the case. In view of this abbreviated discovery and briefing

schedule, the President has not “carried [his] burden of

demonstrating that interlocutory appeal of this question at this

point in time would materially advance the litigation as a

whole.” Judicial Watch, 233 F. Supp. 2d at 29. This discovery

and briefing schedule stands in stark contrast to cases in this

district where Courts have found the moving party to have met

the burden of establishing the third element of the section

1292(b) test. For example, in Molock v. Whole Foods Market

Group, Judge Mehta observed that “[d]iscovery in this case, in

its present form, promises to be drawn out, complex, and

expensive” and that “[t]he potential time and expense of

obtaining such discovery is staggering.” 317 F. Supp. 3d 1, at

*7 (D.D.C. 2018). In APCC Services Inc., Judge Huvelle found the

third element of the section 1292(b) test to be satisfied in

protracted litigation where discovery had been ongoing “more

than four years after the filing of the suit” and where the

significant costs of discovery were expected to “exceed any

possible damages award.” 297 F. Supp. at 100.



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     The President asserts that “‘[w]hen there are substantial

grounds for difference of opinion as to a court’s subject matter

jurisdiction, courts regularly hold that immediate appeal may

materially advance the ultimate termination of the litigation.’”

Def.’s Br., ECF No. 60-1 at 23 (quoting Al Maqaleh v. Gates, 620

F. Supp. 2d 51, 55 (D.D.C. 2009)) (citing APCC Services Inc.,

297 F. Supp. 2d at 109 and Lemery v. Ford Motor Co., 244 F.

Supp. 2d 720, 728 (S.D. Tex. 2002)). This Court does not read

the cited cases to support such a broad proposition and finds

the facts here to be distinguishable. The Court has explained

Judge Huvelle’s reasoning in APCC Services Inc. for finding this

element to have been satisfied supra, and in Lemery, the Court

found this element to be satisfied with little analysis in a

products liability case where there would be protracted

discovery at “tremendous expense.” 244 F. Supp. 2d at 728.

Neither situation is the case here. Furthermore, although in

each case, the question for certification involved a

jurisdictional issue, that was not the sole reason the Court

found this element to be satisfied and for granting the motion.

     The President also argues that the cases plaintiffs cite in

support of their argument actually support his position because

each of the cases was in a late stage and “certain to conclude

in relatively short order through a resolution of summary

judgment motions or a brief trial.” Def.’s Reply, ECF No. 62 at

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5. The Court disagrees that the cases provide support for the

President’s position. Rather, these cases are more similar to

the situation here, where even though discovery has not begun,

it will be scheduled to conclude and cross motions for summary

judgment to be fully briefed within six months. See Burwell,

2015 WL 13699275 at *1 (denying motion for certification because

“[u]nlike typical civil litigation, where the denial of a motion

to dismiss would be followed by months or even years of

discovery, this case is presently suited for summary

disposition,” which could be decided “in a matter of months”);

United States ex rel. Barko v. Halliburton Co., 4 F. Supp. 3d

162, 167 (D.D.C. 2014) (denying motion for certification in part

because “[t]o pause litigation so close to the end of discovery

and so near the deadline for summary judgment briefing would

waste judicial resources.”). While some of the cases cited were

poised for a quicker resolution than is the case here, see

Washington Tennis & Educ. Found., Inc. v. Clark Nexsen, Inc.,

324 F. Supp. 3d, 128, 146 (D.D.C. 2018) (“Once calendared, trial

on Defendant’s counterclaim can be accomplished in less than a

week.”); Brown v. Pro Football Inc., 812 F. Supp. 237, 239

(D.D.C. 1992) (“Given that the trial on damages is imminent, it

is evident that it would not expedite the ultimate termination

of this litigation to delay proceedings for an interlocutory

appeal.”); Singh v. George Washington Univ., 383 F. Supp. 2d 99,

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105 (D.D.C. 2005) (“With this litigation poised for a relatively

short, limited trial, it would not materially advance the

termination of the litigation to authorize a piecemeal

appeal.”), this case will be poised for resolution within six

months; an immediate appeal would hardly materially advance its

ultimate termination.

     Since the President has failed to meet his burden of

establishing “that an immediate appeal from the order may

materially advance the ultimate termination of the litigation,”

28 U.S.C. § 1292(b), the Court need not consider whether the

President has met his burden of establishing the other two

criteria for certifying an order for an immediate appeal. See

Educ. Assistance Found., 2014 WL 12780253, at *3 (“The plaintiff

having failed to establish that the Court’s ruling on the

admissibility of the subject document presents a controlling

question of law, and that an interlocutory appeal would

materially advance the litigation, the Court need not consider

whether there exists a substantial ground for a difference of

opinion regarding the document’s admissibility.”) (citing 28

U.S.C. § 1292(b) and Ahrenholz, 219 F.3d at 676 (“Unless all

these criteria are satisfied, the district court may not and

should not certify its order to us for an immediate appeal under

section 1292(b).”); Baylor v. Mitchell Rubenstein & Assocs., No.

13-1995, 2014 WL 12644263, at *2 (D.D.C. July 30, 2014) (“But

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even if the Court were able to find that substantial grounds for

difference of opinion did exist, it would nonetheless deny the

motion for certification because plaintiff has not demonstrated

that this case satisfies section 1292(b)'s third requirement:

‘that an immediate appeal from the order may materially advance

the ultimate termination of the litigation.’”) (citation

omitted).

     The President argues that the exceptional circumstances of

this case make certification for interlocutory appeal

appropriate. See Def.’s Br., ECF No. 60-1 at 10-13. But “even if

the circumstances [are] truly extraordinary . . . that would

favor certification only if all the criteria required by

§ 1292(b) are otherwise met.” District of Columbia v. Trump, 344

F. Supp. 3d 828, 842 (D. Md. 2018). As explained above, the

President has failed to meet his burden of demonstrating the

third element of the section 1292(b) test.

     The President also moves to stay proceedings: (1) while the

Court considers the section 1292(b) motions; and (2) pending

appeal if the Court grants the motions. Def.’s Suppl. Br., ECF

No. 71-1 at 25. Because the Court has denied the President’s

motions for certification, his request to stay proceedings

pending consideration of the motions and pending appeal if the

motion is granted are DENIED as MOOT.



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     Accordingly, it is hereby

     ORDERED that [60] the President’s motion for certification

for interlocutory appeal of the Court’s September 28, 2018 Order

is DENIED; and it is further

     ORDERED that [71] the President’s motion for certification

for interlocutory appeal of the Court’s April 30, 2019 Order and

for stay is DENIED.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          June 25, 2019




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